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IN THE UNITED sTATEs DIsTRIcT coU_RT MAR 13 2913
FoR THE soUTHERN DIsTRIcT oF TExAs _
HoUsToN DIvIsIoN w&m,cze;wcom

KAMME o §
Plaintiff, §
§
V §

' § cleL AcTIoN No. 4;17-¢v-03877
§
TExAs A&M UNIvERsITY §
and System §
Defendant. §

 

MOTION TO RECONSIDER COURT APPOINTED ATTORNEY FOR PLAINTIFF:

 

TO THE HONORABLE JUDGE OF THIS COURT: l
l. Plaintiff respectftu requests that the Court reconsider appointing Legal Counsel; as
2. Plaintiff has searched off and on since 1996 and been unable locate one.
3. Plaintiff owes the Court an apology for having “APPEALED” instead of “MOTIONED”.
4. Plaintiff apologizes for that, blame it on television “Law 85 Order”? Plaintiff did not
5. actually plan to experience PRO SE, but it is so past the time that the Defendants,
6. Texas A&,M University, Who is regularly “Audited” by Texas A&M SYSTEM actually
7. “behave as advertised”, follow their own Policies and the Laws of the State of Texas
8. and The United States of America. Plaintiff has experience over 23 consecutive years of
9. employment both witnessing and experiencing TAMU and TAMUS Policies and
lO. Procedures verses the Experience 85 Behaviors. The reality of locating Legal
ll. Representation as “Working class” STAFF against a STATE University that so often
12. views itself as “IMMUNE” even unto itself, well: “PRO SE, here l am”.
13. Plaintiff apologizes for not being more professional So much of this experience is

14. Deeply personal Overall, Plaintiff is deeply disappointed by the MANAGEMENT’s

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15.Behavior and treatment that the Plaintiff has endured 1992-20 16, while employed at
16.Texas A&M University, College Station, Brazos County, Texas; especially 2007 to

17. present day.

18. DOCKET 03877, #12 NOTICE OF APPEAL on 02-01-2018 was intended to answer
19. #6R ORDER Denying Motion to Appoint. Plaintiff was unaware until recently naming
20. it APPEAL Would send it to the 5th Circuit Court of Appeals.

2 1. Plaintiff phoned the CLERK on 02-09-2018 to inquire when would the Magistrate

22. respond to the APPEAL? How Would Plaintiff know? He said there was no APPEAL.
23. Plaintiff explained it was mailed in the envelope WITH the RESPONSE and it was

24. Titled APPEAL. He told me l had to pay for the appeal l explained I already had been
25. approved for the FEE WAIVER, but he said I had to send another one. So l did, that
26. day. Then it turns out, it Was not needed after all. He hung up on me that afternoon,
27. 02-09-2018. I did not call back, but I ask for the NAME of who I am speaking with
28. each time I phone the CLERK since that day; lesson learned.

29. This has been a verv PAINFUL experience for me, emotionally, physically and

 

30. financially. There is no part of my life that this experience has not affected and

31. continues to affect. I am doing the best I can, Me & God. I have been unemployed for
32. the most part since the termination 01~29-2016. I do not have internet access at

33. home because the only coverage available is by satellite and is cost prohibitive at this
34. point. My vehicle has 303079 miles on it. Thank God for WiFi. My mortgage is a year
35. behind. Clinical depression ought to be named “brain ilu” - it is like a well-brand

36. hangover to a party I did not attend. Breathing is automatic, functioning is optional
37 . The original complaint LISTS a list of written COMPLAINTS that were submitted fog
38. the Defendant 2015-2016. There Were also APPEALS. The situation Was shunned.

39. Here, I will copy/ paste what I included in the appeal There are 66 or so pages to that

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40. APPEAL - evidence, emails and such that document how complicated this case is.
41. Rather than reprint and resend, could the Court look at # 12 APPEAL? ..is that even

42. how this works? I arn not sure, but I am learning

 

COPY/PASTthnnthe#12“APPEALW

1. Plaintiff' Respectfully appeals the Court’s ORDER to DENY
Court Appointed Legal Representation and requests the COURT
reconsider as to guarantee the Plaintiff her right to DUE

PROCESS against a STATE UNIVERSITY of TEXAS, as she has had

 

no experience as an attorney and the case is both lengthy

 

and complicated.

2. Plaintiff qualifies as in .Fbrma .Pauperis - Employment
Lawyers appear to advertise that they defend “Executives”.
3.P1aintiff has contacted an excessive amount of Law Firms in
the Continental U.S.A. via telephone, email, Twitter,
AVVO.com, Facebook, the ACLU, the NWLC, Lone Star Legal
Aid, Peckham-Martin, Attorney Bryan E. Wilson, Daiclaw.com,`
Bush-Law, Baron and Bud, Azalaw, Ellwanger Law, Kennard
Law, Vagnini Law Firm, Scharfman Law, Leichter, Welscher,
Fiddler & Associates, Armstrong Law, HLRS.org, NWLC.org,
Lazars, Spencer & Scott Law, Warren & Zurick, Devadoss Law,
EEOCAdvocates.com, Attorney Peter Costeal, Poerschke Law
Firm, Murphy Law Practice, Shane A. McCellan,
ROSSLAWGROUP.conh Watson Law Firm, Payne Law Group,
TXLAWHELP.org, Baylor.edu professor, Attorney Stewart
Campbell, Attorney Mahoney, Kilgore & lddgore, Coane.com,
ACLU.org, LAPIDUS & KNUDSEN, Cohen & Associates, Filteau &
Sullivan, Bush-Law, Vas Manthose, AzaLaw, Attorney Bryan E.
Wilson, Wayne Rife, BRUCHEZ.com and that’s not all of them

- but it’s what l have written down in my calendar.

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4.Defendant's responses to the EEOC complaint 3lC-2015-01426
is mostly the omission of facts & documents, conjecture and
misrepresentation of the Plaintiff.

5. CONFLICT of INTEREST: Vice President of TAMU Finance, Jerry

 

Strawser was listed as management for both TAMU Human

 

Resources and the department where the Plaintiff was
employed - Environmental Health & Safety.

a) The final decision of every written complaint

 

submitted by the Plaintiff was signed off on by
the V.P. of Finance as “no valid evidence”

b) OPEN RECORDS doesn’t have to release documents if
the investigation found “no valid evidence”,
according to the GOVT CODE.

c) After the Plaintiff was terminated from her 23+
years of employment at TAMU - Human Resources was
RESTRUCTURED to be directly under the PRESIDENT
of TExAs A&M UNIvERsITY, effective August 1,
2016.

6.TAMU Human Resources Policy & Practice Review violated
Policy, encouraging RETALIATION by taking 67 working days
to answer the Plaintiff’s initial written complaint

received April 27, 2015.
a. First Complaint by the Plaintiff was not answered

until July 3l, 2015.

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2.5 It` additional time is needed to complete the investig ation, an “~
' ' ~ nay be allotted to P&PR \vith appioval tioin the AllP

 

HRAS Notlhc'\tlon ot the extension \vill be sent to the complainant

1espondent s supeivisoi and respondents depaitment/unit head. The extension

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complamant s supei\ 1301 and department/unit head and the respondent g
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7.TAMU PPR letters were vague and misleading - emitting dates
and details of which Complaint was being answered. TAMU PPR

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combined COMPLAINTS of on-going RETALIATION with the
original 04-26-2015 Complaint of DISCRIMINATION.
a.TAMU PPR Sheri Yetter had met with the Plaintiff
January 3, 2014 - the discrimination situation was not
new-news to those assigned to investigate it.
Plaintiff believes that the RESTRUCTURE of the
department of Environmental Health & Safety was §§
least in part to protect JAMES RAINER, who TAMU EHS
had been using & rewarding for discriminating against

the Plaintiff since 1999, when he hired her to inspect

 

the female resident hall rooms. /

 

8.Plaintiff has audio of witnessed meetings 2015-2016 and 953
p£gze that at no time did she yell at anyone.

9.Plaintiff believes that the Defendant refusing to promote
her after the 2007 meeting with the TAMU Environmental
Health & Safety DireCtOr CHRIS MEYER iS RETALITORY in
nature, to keep her position “HOURLY”, to be able to create
a hostile work environment:

a.There was/is nd& time CLOCK.

 

kL Supervisors APPROVED the bi-weekly TIMESHEETS.
c.All TIMESHEETS for the Plaintiff list her as TIMELY,

 

 

d.“late to work” was first and generally only mentioned
at annual evaluations; used to limit training & %
raises.

10. Plaintiff never gave any presentation mentioning “sex
with her boyfriend” as is written in the EEOC witness
statement, as JAMES RAINER.

a.Plaintiff actually successfully presented FIRE SAFETY
2010-2013. She was never told WHY she was not allowed
to continue giving the Fire Safety presentations in
late 2013. She even asked during the 2013-2014
evaluation by JAMES RAINER. why EHS 'stopped allowing

 

 

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her to give the SAFETY PRESENTATIONS? And he only

 

fidgeted an answer about “they wanted to shorten the
presentation”.

b.Plaintiff gave the Fire Safety presentation 2010-2013,
until the Plaintiff’s POSITION DESCRIPTION actually
included “giving presentations”.

c.Plaintiff volunteered to accept the responsibility of
giving the Fire Safety presentations when her
supervisor JOHN FELLERS vacated the position 2010.

a) EHS later gave the promotion to RICHARD FEGAN (no
Res-Life inspection experience), but Plaintiff
continued to present Fire Safety because the
survey reviews by the audience were so POSITIVE.

ll. Plaintiff’s first report of injury 03-27-2015 was
back-dated and then denied by WORKER’s COMP.

 

12. Plaintiff was told injury was “probably just zage”,

 

April 2015 by SUSAN KARLI.
13. Plaintiff was offered FMLA numerous times 2015:

 

a.By email, in office mailbox, by voicemail, by meeting
with SUSAN KARLI and then also by a meeting with EHS
Director CHRISTINA ROBERTSON, witnessed by SWATI KALE.
b.At no time did the Plaintiff request FMLA and refused
signing each time it was told. to her “we are _just
trying to make sure you get the benefits you deserve”.
14. TAMU intended to terminate the Plaintiff’s employment

for previous unrelated doctor appointments that she took

 

regularly for type 11 diabetes - had she signed the
documents for FMLA.

15. Use of vacation was suspended in attempt to force

 

Plaintiff to use FMLA.

 

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a.MEN who were YEARS behind on eye-wash shower
inspections were not suspended from using their
vacation time. (same supervisor)

b. Plaintiff used vacation leave to rest injured neck
after the Worker’s Comp was denied. Not enough
emotional energy to keep track of both documentation
processes. Neck still hurts.

16. Plaintiff had current CERTIFICAITONS of Pyrotechnics
and Flame Effects from 2005-2016 that went completely
unused. While the younger male that JAMES RAINER mentored
was listed online as the person to contact for a BURN
PERMIT. Plaintiff was the only person who had those
Certifications, but JAMES RAINER refused to have anything
to do with the Plaintiff and TAMU EHS rewarded him for it
year after year after year with promotions, raises and by
continuing to shun the Plaintiff.

17. November 201 2015 SWATI KALE, the Plaintiff’s

 

supervisor since summer of 2015, lstood yelling & beating

 

her fist on the desk at the Plaintiff for over an hour

 

while the employees in the EHS office stood in the hallway
listening. SWATI KALE yelled at the Plaintiff, “GO AHEAD, I

 

DARE YOU, I DARE YOU TO FILE ANOTHER COMPLAINT WITH HR!”
18. v TAMU listened to the audio of the Plaintiff’s

supervisor yelling and threatening her during that November

2015 meeting JANUARY 4, 2016, BEFORE the Plaintiff was

 

wrongfully terminated JANUARY 29, 2016 for “work
performance”.

19. TAMU PPR did not answer the 11-10-2015 written

 

COMPLAINT about the Eye-wash Showers being YEARS BEHIND

 

INSPECTIQN - the men that worked for SWATI KALE were not
suspended from. vacation or having witnessed. meetings and

micro-managed revolving schedules.

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a.Plaintiff sent PHOTOS of the eyewash showers and the
database to HR PPR with the 11-10-2015 COMPLAINT.

20. The Plaintiff phoned TAMU HR and asked for help,
expressing that every meeting was worse than the one before
and that she was afraid for her safety at the office
because of the hostile work environment.

a.No one did anything to protect the Plaintiff. No one
listened. No one cared how many years the Plaintiff
had been discriminated against. No one cared to even
follow the laws or the policies.

21. Even the Anonymous complaints against the Plaintiff
were RETALIATION, as the info is false - and reads as if it
was written by Susan Karli, the same person that told the
Plaintiff it was “old age” and then back-dated the injury
report so that the Worker’s Comp would be denied.

22. Plaintiff submitted evidence of FALSE INSPECTION DATES
of the Fire Safety Inspections by ADAM CHAVARRIA, the
younger male, mentored for the CONSTRUCTION FIRE SAFETY
MANAGER pOSitiOn by JAMES RAINER to the TEXAS STATE FIRE
MARSHAL’S OFFICE December 29, 2016.

a.TXSFMO has avoided answering to the complaint of FALSE
DATES of INSPECTION at TEXAS A&M UNIVERSITY.

b.TXSFMO sent the younger female hired instead of the
PLAINTIFF 2016 tO TEXAS A&M UNIVERSITY in 2017 to
inspect a few of the items the Plaintiff submitted to
the TXSFMO. The report is full of ndstakes, is very

vague, does not even list room numbers.

Plaintiff thanks the Court for its' time.

Kamme O
3503 Winding Road, Hearne, Texas 77859
979-575-1091 AggieCarpenterMom@gmail.com

 

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CERTIFICATE OF SERVICE

 

I hereby certify that a true and correct copy of MDTION TO
RECONSIDER COURT APPOINTED ATTORNEY FOR PLAINTIFF has been
served via USPS mail and via email, on this 13th day of March,

2018, to:

Yvonne D. Bennett

Texas Bar No. 24052183

Southern District No. 814600
Attorney~in-Charge

Assistant Attorney General

Office of the Attorney General

P=O. Box 12548

Austin, Texas 78711-2548
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